Case 2:15-cv-00998-JRG-RSP Document 52 Filed 12/21/15 Page 1 of 3 PageID #: 254




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


 DISPLAY TECHNOLOGIES, LLC,

         Plaintiff,                                    Civil Action No. 2:15-cv-998-JRG-RSP
                                                                     (Lead Case)
 vs.
                                                            JURY TRIAL DEMANDED
 NVIDIA CORPORATION, et al.,

         Defendants.


       NOTICE OF COMPLIANCE REGARDING PATENT RULE 4-1 DISCLOSURES

         Defendant Samsung Electronics America, Inc. (“Samsung”) hereby notifies the Court that

 on December 21, 2015, Samsung served its Patent Rule 4-1 disclosures on Plaintiff’s counsel of

 record via electronic mail in accordance with the Docket Control Order [Dkt. 37].



 December 21, 2015                               Respectfully submitted,

                                                 /s/Ali R. Sharifahmadian
                                                 Ali R. Sharifahmadian
                                                 (District of Columbia Bar No. 480876)
                                                 ali.sharifahmadian@aporter.com
                                                 Matthew M. Wolf
                                                 (District of Columbia Bar No. 454323)
                                                 matthew.wolf@aporter.com
                                                 Jin-Suk Park
                                                 (District of Columbia Bar No. 484378)
                                                 jin.park@aporter.com
                                                 Patrick C. Reidy
                                                 (District of Columbia Bar No. 1026898)
                                                 patrick.reidy@aporter.com
                                                 Arnold & Porter LLP
                                                 601 Massachusetts Avenue, NW
                                                 Washington, DC 20001
                                                 Telephone: (202) 942-5000
                                                 Facsimile: (202) 942-5555



                                               -1-
Case 2:15-cv-00998-JRG-RSP Document 52 Filed 12/21/15 Page 2 of 3 PageID #: 255




                                       Maxwell C. Preston
                                       (New York State Bar No. 4806162)
                                       maxwell.preston@aporter.com
                                       Arnold & Porter LLP
                                       399 Park Avenue
                                       New York, NY 10022-4690
                                       Telephone: (212) 715-1000
                                       Facsimile: (212) 715-1399

                                       Melissa Richards Smith
                                       Gillam & Smith, LLP
                                       303 S. Washington Ave.
                                       Marshall, TX 75670
                                       Telephone: (903)-934-8450
                                       Fax: (903)-934-9257
                                       Email: melissa@gillamsmithlaw.com

                                       Counsel for Defendant and Counterclaim-
                                       Plaintiff Samsung Electronics America, Inc.




                                      -2-
Case 2:15-cv-00998-JRG-RSP Document 52 Filed 12/21/15 Page 3 of 3 PageID #: 256




                              CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served upon counsel of record via the

 Court’s CM/ECF system per Local Civil Rule CV-5(a)(3) on December 21, 2015.


                                              /s/Ali R. Sharifahmadian
                                              Ali R. Sharifahmadian
